                   IN THE DISTRICT COURT OF THE UNITED STATES
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                     3:04cr271



UNITED STATES OF AMERICA                 )
                                         )
                  vs.                    )
                                         )                                  ORDER
                                         )
ILA LITTLE HOWARD (3)                    )
________________________________________ )




       THIS MATTER is before the Court upon motion of the defendant pro se for a reduction

of sentence based on the retroactive amendments to the United States Sentencing Guidelines

relating to crack cocaine. (Doc. No. 422).

       The defendant received an effective sentence of 210 months’ imprisonment based on her

guilty pleas to conspiracy to transport minors in interstate commerce for prostitution and other

offenses; wire fraud; conspiracy to commit money laundering; and conspiracy to possess cocaine

base with intent to distribute using minors. (Doc. No. 353: Judgment). The offense level was

determined by the grouping rules and driven by the money laundering and prostitution guidelines.

(Doc. No. 354: Statement of Reasons (SOR) at 1; Doc. No. 371: Presentence Report (PSR) at ¶

39). The amount of crack cocaine attributable to the defendant did not affect the calculation of the

guideline range. (Doc. No. 371: PSR at ¶¶ 39-77). Accordingly, the defendant is not eligible for a

sentence reduction under 18 U.S.C. § 3582(c) based on crack cocaine amendments because these

other guideline provisions prevent lowering the guideline range in her case. USSG §1B1.10

comment. (n.1(A)(ii)).



    Case 3:04-cr-00271-RJC-DCK               Document 444     Filed 08/29/08      Page 1 of 2
       IT IS, THEREFORE, ORDERED that the defendant’s motion is DENIED.

       The Clerk is directed to certify copies of this order to the defendant, the Community

Defender, the United States Attorney, the United States Marshals Service, and the United States

Probation Office.

                                                 Signed: August 29, 2008




                                                2


    Case 3:04-cr-00271-RJC-DCK           Document 444        Filed 08/29/08     Page 2 of 2
